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Platzer, Swergold, Levine,
 Goldberg, Katz & Jaslow, LLP
Counsel for JM Holding Group, LLC, and
Proposed Counsel for J. Mendel Inc.
475 Park Avenue South, 18th Floor
New York, New York 10016
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Clifford A. Katz



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                              Chapter 11

JM HOLDING GROUP, LLC et al.,                                       Case No. 17-45647 (NHL)

                                     Debtors.                       (Jointly Administered)
-------------------------------------------------------x


  DEBTOR’S MOTION FOR THE ENTRY OF: (I) AN ORDER (A) ESTABLISHING
  BIDDING PROCEDURES FOR THE SALE OF ASSETS, (B) AUTHORIZING THE
    DEBTOR TO SELECT A STALKING HORSE BIDDER, (C) SCHEDULING AN
AUCTION AND SALE HEARING, AND (D) APPROVING THE FORM AND MANNER
  OF NOTICE THEREOF; AND (II) AN ORDER AUTHORIZING AND APPROVING
    (A) DEBTOR’S ENTRY INTO A CERTAIN ASSET PURCHASE AGREEMENT,
(B) THE SALE OF ASSETS FREE AND CLEAR OF LIENS AND OTHER INTERESTS,
      AND (C) ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
                        CONTRACTS AND LEASES

            J. Mendel Inc. (“J. Mendel” or the “Debtor”), as and for its motion (the “Motion”),

pursuant to sections 105(a), 363 and 365 of title 11 of the United States Code (the “Bankruptcy

Code”) and Rules 2002, 6004 and 6006 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and the Local Rules of the United States Bankruptcy Court for the Eastern

District of New York (the “Local Bankruptcy Rules”), for the entry of the Bidding Procedures

Order and Sale Order (each term is defined herein), respectfully sets forth and represents as

follows:




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                                         JURISDICTION

            1.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this Court pursuant

to 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested herein are pursuant to

sections 105(a), 363 and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004 and 6006 and

Local Bankruptcy Rules 2002-1, 6004-1 and 6006-1.

                                         BACKGROUND

            2.   On June 22, 2018 (the “Petition Date”), J. Mendel commenced a voluntary case

under Chapter 11 of the Bankruptcy Code in this Court.

            3.   Prior thereto, on October 27, 2017, J. Mendel’s parent company, JM Holding

Group, LLC (“JM Holding”), commenced a voluntary case under Chapter 11 of the Bankruptcy

Code in this Court.

            4.   By Order dated July 4, 2018, the Court authorized and directed that J. Mendel’s

case and JM Holding’s case be jointly administered.

            5.   The Debtor is operating its business and managing its property as debtor and debtor

in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code. To date, no trustee,

examiner or creditors’ committee has been appointed.

            6.   J. Mendel designs and manufactures apparel for women, and offers dresses,

anniversary gowns, ready-to-wear apparel, knitwear, cuffs, hunter boots, and scarves, as well as

provides handbags that are made from fur, luxury leathers, and alligators.

            7.   JM Holding is an investment company and is the sole owner of J. Mendel.

            8.   J. Mendel’s assets consist primarily of cash, inventory, its interest in factored

accounts receivables, and intellectual property which secure J. Mendel’s obligations as a borrower,




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to repay indebtedness as of June 22, 2018 in the amount of approximately $4,617,297.28 to

Rosenthal & Rosenthal, Inc. (“Rosenthal”).

            9.    J. Mendel also executed a promissory note in the original principal amount of

$7,000,000 in favor of Gores Clothing Holdings, LLC (“Gores”), in conjunction with a sale of the

equity of J. Mendel from Gores to JM Holding, which as stated above, is now the sole shareholder

of J. Mendel. Upon information and belief, Gores asserts it is owed the sum of approximately

$5,154,000.00 from J. Mendel. Gores asserts J. Mendel’s debt to Gores is guaranteed by JM

Holding.

            10.   On June 25, 2018, the Debtor filed its Amended Motion for Entry and Approval of

Interim and Final Orders: (A) Authorizing Use of Cash Collateral and Affording Adequate

Protection; (B) Modifying Automatic Stay; and (C) Scheduling Final Hearing, Pursuant to

Sections 105, 362, 363 and 507 of title 11 of the United States Code, Rules 2002 and 4001 of the

Federal Rules of Bankruptcy Procedure and Rule 4001-5 of the Local Rules for the United States

Bankruptcy Court for the Eastern District of New York (the “Cash Collateral Motion”) [Docket

No. 16].

            11.   Pursuant to the Cash Collateral Motion, on July 2, 2018 and July 14, 2018, this

Court entered, respectively, an Interim Order (I) Authorizing Use of Cash Collateral and Affording

Adequate Protection; (II) Modifying Automatic Stay; and (III) Scheduling a Final Hearing

[Docket No. 28], and a Final Order (I) Authorizing Use of Cash Collateral and Affording Adequate

Protection; and (II) Modifying Automatic Stay [Docket No. 58] (collectively, the “Cash

Collateral Orders”).




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            12.   J. Mendel’s use of Cash Collateral was conditioned upon filing a motion seeking to

sell substantially all of the Debtor’s assets. In furtherance thereof, the Debtor has filed the instant

motion seeking to sell their assets at auction, and seeking entry of a bidding procedures order.

            13.   The Debtor will solicit bids and may, in consultation with Rosenthal and Gores,

select a stalking horse bidder. The stalking horse bidder, or if none is selected, the high bidder at

the conclusion of the auction will be required to execute a form of Asset Purchase Agreement (the

“Purchase Agreement”) with respect to the acquisition of the Acquired Assets (as defined below)

(the “Proposed Transaction”). A copy of the form of Purchase Agreement is annexed hereto as

Exhibit “A”.

            14.   After consultation with their management and professionals, the Debtor believes it

is in the best interest of the Debtor’s estates and their creditors to implement an orderly sale of the

business pursuant to section 363 of the Bankruptcy Code.

                                      RELIEF REQUESTED

            15.   By this Motion, the Debtor seeks entry of an order, substantially in the form

attached hereto as Exhibit “B” (the “Bidding Procedures Order”) and, at the conclusion of the

Sale Hearing (as defined below), an order, substantially in the form attached hereto as Exhibit

“C” (the “Sale Order”).

            16.   The Debtor seeks entry of the Bidding Procedures Order:

                  a.     authorizing and approving the bidding procedures (the “Bidding
                         Procedures,” the form of which is attached hereto as Exhibit “1” to the
                         Bidding Procedures Order) in connection with the Sale (as defined herein),
                         and the Bid Protections (as defined below);

                  b.     approving procedures for the selection of a stalking horse bidder (the
                         “Stalking Horse Bidder”) whose bid will serve as the opening bid at the
                         Auction (the “Stalking Horse Bid”);




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                  c.     approving the form and manner of notice of the Sale by auction, the Sale
                         Hearing and related matters, substantially in the form attached as Exhibit
                         “2” to Bidding Procedures Order (the “Sale Notice”);

                  d.     authorizing and approving procedures for the assumption and assignment
                         of executory contracts and leases (collectively, the “Assumed Contracts”),
                         including the notice of the proposed assumption and assignment of the
                         Assumed Contracts in the form attached as Exhibit “3” to the Bidding
                         Procedures Order (the “Assumption and Assignment Notice”); and

                  e.     establishing the following dates and deadlines, subject to modification:

                          i.     Bid Deadline: September 21, 2018 at 4:00 p.m. (Eastern Time), as
                                 the deadline by which all binding bids must be actually received
                                 pursuant to the Bidding Procedures (the “Bid Deadline”);

                         ii.     Stalking Horse Deadline: September 14, 2018 at 4:00 p.m.
                                 (Eastern Time), as the deadline by which the Debtor may, but is not
                                 obligated to, select a Stalking Horse Bid (the “Stalking Horse
                                 Deadline”);

                        iii.     Auction: September 24, 2018, at 10:00 a.m. (Eastern Time), as the
                                 date and time of the auction, if one is needed (the “Auction”), which
                                 will be held at the office of Platzer, Swergold, Levine, Goldberg,
                                 Katz & Jaslow, LLP, 475 Park Avenue South, 18th Floor, New York,
                                 New York 10016;

                        iv.      Sale Objection Deadline: September 24, 2018 at 5:00 p.m.
                                 (Eastern Time), as the deadline to object to the Sale and/or the
                                 assumption and assignment of Assumed Contracts or cure amounts
                                 related thereof; and

                         v.      Sale Hearing: September 25, 2018 at 10:00 a.m. (Eastern Time),
                                 as the date and time of the hearing to approve the Sale which will
                                 be held before the Honorable Nancy Hershey Lord, United States
                                 Bankruptcy Judge at the United States Bankruptcy Court for the
                                 Eastern District of New York, 271-C Cadman Plaza East, Brooklyn,
                                 New York 11201-1800.

            17.   The Debtor also seeks entry of the Sale Order following the conclusion of the Sale

Hearing:

                  a.     Approving the Purchase Agreement (or such other agreement as agreed to
                         which respect to the Proposed Transaction with the successful bidder at the
                         Auction), and the sale of the Acquired Assets free and clear of all liens,
                         claims, interests and encumbrances (the “Sale”); and



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                  b.      Authorizing the assumption and assignment of the Assumed Contracts to the
                          Purchaser or such other party that is the successful bidder at the Auction.

                       OVERVIEW OF THE PROPOSED TRANSACTION

            18.   The principal terms of the Purchase Agreement are summarized in the following

chart:1

                                        SUMMARY DESCRIPTION

    Parties                     Seller: The Debtor.

                                Purchaser: Highest and best bidder at auction.

    Acquired Assets             Upon the terms and subject to the conditions of the Purchase
                                Agreement, the Debtor shall convey its right, title and interest in, to
                                and under all of the assets, properties and rights of every kind and
                                nature, whether real, personal or mixed, tangible or intangible
                                (including goodwill), wherever located and whether now existing or
                                hereafter acquired (other than the Excluded Assets), which relate to, or
                                are used or held for use in connection with, the Business, including,
                                without limitation, (a) all cash and cash equivalents; (b) all accounts
                                or notes receivable held by the Debtor, and any security, claim, remedy
                                or other right related to any of the foregoing; (c) all inventory, finished
                                goods, raw materials, work in progress, packaging, supplies, parts and
                                other inventories; (d) all Assumed Contracts; (e) all Intellectual
                                Property; and (f) all goodwill and the going concern value of the
                                Business.

    Payment Amount               The aggregate consideration for the Acquired Assets at the Closing
                                  shall be (i) $__________, (ii) the Cure Payments, plus (iii)
                                  assumption of the Assumed Obligations, if any.

                                 Rosenthal is deemed to be a Qualified Bidder and shall be permitted
                                  to make a credit bid pursuant to Section 363(k) of the Bankruptcy
                                  Code to purchase, or have its designee purchase, the Acquired
                                  Assets.

                                 Any other Qualified Bidder must submit a bid with a cash purchase
                                  price of no less than $4 Million, plus the Cure Payments, by the bid
                                  deadline and provide a cash deposit equal to 10% of the amount of

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  Capitalized terms used but not otherwise defined in the summary chart shall have the meaning ascribed to such terms
in the Purchase Agreement. This summary is provided for the convenience of the Court and parties in interest. To
the extent there is any conflict between this summary and the Purchase Agreement, the Purchase Agreement governs
in all respects.


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                                the bid, and provide assurance of each bidder’s financial ability to
                                close, be irrevocable until five (5) business days after the closing of
                                the sale or sales pursuant to an order of the Bankruptcy Court, not
                                be subject to any conditions or contingencies to closing, including
                                without limitation obtaining financing, internal approvals or further
                                due diligence except the closing conditions set forth in the Purchase
                                Agreement.

 Timing of Payment and       Upon the terms and subject to the satisfaction of the conditions
 Closing Date                contained in the Purchase Agreement, the closing of the transaction
                             contemplated by the Purchase Agreement (the “Closing”) will take
                             place no later three (3) business days after the date on which the
                             conditions set forth in ARTICLE 7 and ARTICLE 8 of the Purchase
                             Agreement have been satisfied or waived; or on such other date or
                             place as Purchaser and the Seller may determine (the “Closing Date”).
                             The Closing Date shall not be any later than October 5, 2018, unless
                             Rosenthal agrees in writing to a later Closing Date.

 Conditions                  (a) approval by the Bankruptcy Court of the Bidding Procedures
                                 annexed as Exhibit “1” to the Bidding Procedures Order hereto;
                             (b) approval by the Bankruptcy Court of the Purchaser’s acquisition
                                 of the Acquired Assets, free and clear of all Liens, claims or
                                 interests other than the Assumed Obligations in the form of a Sale
                                 Order reasonably acceptable to the Purchaser.


  SUMMARY OF “EXTRAORDINARY PROVISIONS” PURSUANT TO GUIDELINES
      FOR THE CONDUCT OF ASSET SALES UNDER THE LOCAL RULES

            19.   No Successor Liability. The Purchase Agreement provides, and the proposed Sale

Order includes certain findings, that the purchaser of the Acquired Assets shall have no successor

liability whatsoever with respect to any encumbrances or claims of any nature that may exist

against the Debtor.

            20.   Relief from Stay under Bankruptcy Rules 6004(h) and 6006(d). The proposed

Sale Order provides for a waiver of the 14-day stay of the Sale Order arising under Bankruptcy

Rules 6004(h) and 6006(d), including the parties’ ability to close the sale and assign the Assumed

Contracts. A waiver of the stay is necessary to maximize as soon as possible the value that the

Debtor may realize from the sale of the Acquired Assets, especially in light of the pace of the



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Debtor’s liquidation and wind down of operations. Therefore, the Debtor submits there are

adequate grounds to waive the 14-day stay under Bankruptcy Rules 6004(h) and 6006(d) so the

Sale Order is effective immediately.

            21.      Record Retention. In accordance with the terms of the Purchase Agreement, the

Debtor will be given reasonable access to their books and records to enable them to administer

their respective bankruptcy cases after the sale.

                    PROPOSED NOTICE, BIDDING, STALKING HORSE NOTICE
                               AND AUCTION PROCEDURES

A.          Notice and Other Procedures

            22.      The Debtor requests approval of the following notice and other procedures:

                     (a)    Sale Notice: As soon as practicable following Bankruptcy Court approval

            of the Bid Procedures, the Debtor will serve notice of the Sale Hearing (the “Sale Notice”)

            by first class mail, on: (a) counsel for Rosenthal, Otterbourg P.C., 230 Park Avenue, New

            York, New York 10169, Attn: Steven B. Soll, Esq., ssoll@otterbourg.com; (b) counsel for

            Gores, Forchelli, Deegan, Terrana, LLP, 333 Earle Ovington Blvd, Suite 1010, Uniondale,

            New York 11553, Attn: Gerard R. Luckman, Esq., gluckman@forchellilaw.com; (c) the

            Office of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite

            1006,     New     York,    New     York       10014,   Attn:    Marylou     Martin,    Esq.,

            marylou.martin@usdoj.gov; (d) all known creditors of the Debtor’s, including those

            creditors holding the twenty (20) largest unsecured claims against the Debtor’s estates;

            (e) any official committee of unsecured creditors appointed in this case; (f) all persons who

            have filed a request for notice and service of papers in this case; (g) all current landlords

            of the Debtor and parties to any executory contracts which Purchaser may request be

            assumed and assigned; (h) entities that are known to the Debtor to have previously



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            expressed an interest in the Assets; (i) all entities known or reasonably believed to have

            asserted a lien, encumbrance, claim or other interest in any of the Acquired Assets offered

            for sale; and (j) all affected federal, state and local taxing authorities, including the Internal

            Revenue Service (collectively, the “Sale Notice Parties”). The form of Sale Notice is

            attached hereto as Exhibit “2” to the Bidding Procedures Order.

                    (b)     Bid Deadline; Date, Time, and Place of Auction: The Debtor requests that

            bidders be required to submit bids (in the form and manner described herein and in the Bid

            Procedures) and that the Court schedule the deadline to submit bids to be on or before

            September 21, 2018 at 4:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”).

                    (c)     Selection of Stalking Horse Bidder: The Debtor proposes that on or before

            September 14, 2018 at 4:00 p.m. (prevailing Eastern Time) (the “Stalking Horse

            Deadline”) the Debtor, in consultation with Rosenthal and Gores, may, but are not

            obligated to, select a Stalking Horse Bidder. If a Stalking Horse Bidder is selected, on or

            before September 17, 2018 at 12:00 noon (prevailing Eastern Time), the Debtor will

            file with the Court a Notice of Selection of Stalking Horse Bid (the “Stalking Horse

            Notice”), and thereafter provide notice thereof to all then-known potential bidders. The

            Stalking Horse Notice shall include (a) a copy of the Agreement embodying the Stalking

            Horse Bid, and (b) a summary of the material terms of the Stalking Horse Bid. Nothing

            herein shall require the Debtor to select a Stalking Horse Bid. In addition, the Debtor

            may in consultation with Rosenthal and Gores provide the selected Stalking Horse

            Bidder with a breakup fee in an amount of no more than 2% of its bid and expense

            reimbursement up to the sum of $25,000 (the “Break Up Fee”). To the extent that a

            Break Up Fee is extended to the Stalking Horse Bidder, the next bid accepted shall be




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            no less than One Hundred and Ten Thousand Dollars over the Stalking Horse Bid.

            The Debtor will not offer a Break Up Fee to any bidder; (1) who makes a credit bid

            for the Debtor’s assets, (2) who is an Insider of the Debtor, or (3) may be affiliated

            with an Insider of the Debtor.

                   (d)     Date, Time and Place of Auction: The Debtor proposes that the Bankruptcy

            Court schedule the Auction, if necessary, to be conducted at the offices of the Debtor

            counsel, Platzer, Swergold, Levine, Goldberg, Katz & Jaslow, LLP, 475 Park Avenue

            South, 18th Floor, New York, New York, 10016, commencing on September 24, 2018 at

            10:00 a.m. (Eastern Time). The Debtor will select the highest or best bid(s) after

            consultation with Rosenthal and Gores, and the successful bidder(s) (the “Successful

            Bidder”) will be required to enter into a definitive agreement(s), which shall be subject to

            the approval of the Bankruptcy Court at the Sale Hearing. If there are no Qualified Bids,

            the Auction shall be cancelled.

                   (e)     Date, Time, and Place of the Sale Approval Hearing: The Debtor proposes

            that the Court schedule the Sale Hearing to be held in the United States Bankruptcy Court

            for the Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, New York

            11201-1800, on September 25, 2018 at 10:00 a.m. (Eastern Time).

                   (f)     Objection Deadline to Sale Order(s): The Debtor also request that the

            Bankruptcy Court require objections to the relief sought in the Sale Order to be in writing,

            filed, and served so as to be actually received by: (i) counsel to the Debtor, Platzer,

            Swergold, Levine, Goldberg, Katz & Jaslow, LLP, 475 Park Avenue South, 18th Floor,

            New York, New York 10016, Attn: Clifford Katz Esq., (ii) the Office of the U.S. Trustee,

            U.S. Federal Office Building, 201 Varick Street, Suite 1006, New York, New York 10014;




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            Attn: Marylou Martin, Esq., (iii) counsel to Rosenthal, Otterbourg P.C., 230 Park Avenue,

            New York, New York 10169, Attn: Steven B. Soll, Esq.; (iv) counsel for Gores, Forchelli,

            Deegan, Terrana, LLP, 333 Earle Ovington Blvd, Suite 1010, Uniondale, New York 11553,

            Attn: Gerard R. Luckman, Esq.; and (v) all parties that have filed a Notice of Appearance

            (collectively, the “Objection Notice Parties”), by September 24, 2018 at 5:00 p.m.

            (Eastern Time) or as otherwise directed by the Court.

                   (g)     Information Provided to Interested Parties: The Debtor has either provided

            or will provide to all parties that have either expressed an interest in purchasing the

            Acquired Assets or who the Debtor believes may have an interest in purchasing the

            Acquired Assets (each an “Interested Party” and, collectively, the “Interested Parties”),

            certain information in connection with the proposed Sale, including, among other things,

            the Sale Notice and the proposed Bidding Procedures. Should any Interested Party desire

            additional or further information, such Interested Party will be required to enter into a

            confidentiality agreement satisfactory to the Debtor in its business judgment. Upon

            execution of the confidentiality agreement, the Interested Party will be given access to

            various financial data and other relevant and confidential information as may be requested

            in order to determine its interest in submitting a bid.

                   (h)     Good Faith Deposit: Other than Rosenthal, each Qualified Bidder will be

            required to submit good faith deposits (each a “Good Faith Deposit” and collectively, the

            “Good Faith Deposits”) by wire transfer to Debtor’s counsel on or before the Bid

            Deadline. Such Good Faith Deposits shall be equal to ten percent (10%) of the purchase

            price set forth in such bid. Good Faith Deposits of all bidders (except for the Successful

            Bidder) shall be held by the Debtor’s counsel in a separate non-interest-bearing account




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            for the Debtor’s benefit until five (5) business days following the closing of the Sale. If a

            Successful Bidder or the Back-Up Bidder, as applicable, fails to consummate an approved

            sale because of a breach or failure to perform on the part of such bidder, the Debtor will

            not have any obligation to return the Good Faith Deposit deposited by such bidder, and

            such Good Faith Deposit shall irrevocably become property of the Debtor’s estate without

            affecting or reducing any of the Debtor’s other rights or claims against such party and the

            next highest bid received for assets will be deemed to be the Successful Bidder.

                   (i)     Adequate Assurance: For any bid submitted in accordance with the Bidding

            Procedures (as further defined therein, a “Qualified Bid”) that requires the assumption and

            assignment of executory contracts (the “Contracts”) or unexpired leases (the “Leases”),

            the bidder must identify such Contracts and/or Leases to be assumed and assigned and

            provide adequate assurance of its future performance of such Contracts or Leases along with

            the Qualified Bid.

                   (j)     Qualified Bidder: The Debtor, in consultation with Rosenthal and Gores,

            shall determine if a particular bid received for the Acquired Assets is a Qualified Bid.

            Except for Rosenthal, in order to be a Qualified Bidder, the bid submitted must: (i) be of

            no less than $4 Million; (ii) be accompanied by a Good Faith Deposit, (iii) be irrevocable,

            (iv) be accompanied by a marked up version of the Purchase Agreement, (v) be authorized

            by the Qualified Bidder’s board of directors or governing body, (vi) provide sufficient

            financial information with respect to adequate assurance of future performance, (vii) not

            be subject to any conditions/contingencies, including, without limitation, obtaining

            financing, internal approvals or further due diligence except the closing conditions set forth

            in the Purchase Agreement, and (viii) contain an acknowledgement and agreement that




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            such bidder shall abide by the Debtor’s current privacy policy concerning their customer

            data.

                    (k)    Backup Bidder: If for any reason the entity or entities that submit(s) the

            highest or otherwise best bid(s) fails to consummate the purchase of the Acquired Assets,

            or any part thereof, the Qualified Bidder with the second highest or best bid shall remain

            bound by such bid and will automatically be deemed to have submitted the highest or best

            bid and to the extent the Debtor and Rosenthal and Gores, consent, the Debtor and such

            bidder are authorized to effect the Sale of the Acquired Assets, or any part thereof, to such

            bidder(s) as soon as reasonably practicable. If such failure to consummate the purchase is

            the result of a breach by the winning bidder, the Debtor’s reserve the right to seek all

            available damages from said bidder. In order for any bid (including any backup bid) to be

            a Successful Bid, such bid must provide for a cash payment at closing of (i) not less than

            $4 Million or (ii) a lesser amount agreed to by Rosenthal in writing in its sole discretion.

B.          The Bidding Procedures

            23.     The Debtor intends to implement the Bidding Procedures attached hereto as Exhibit

“1” to the Bid Procedures Order pursuant to which any person or entity wanting to participate in the

Auction must submit a Qualified Bid by the Bid Deadline.

            24.     The Debtor’s reserve the right to modify such procedures as necessary or as it deems

appropriate, in consultation with Rosenthal and Gores, to maximize value for the Debtor’s estates

and creditors. The Debtor is also reserving the right, in consultation with Rosenthal and Gores, to

select a Stalking Horse Bidder. The Debtor believes that the Bidding Procedures are appropriate

and will maximize the recovery for the Debtor and its estate in connection with the Sale in

consultation with Purchaser.




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            25.    The Debtor further believes that these Bidding Procedures provide an appropriate

framework for selling the Acquired Assets in a uniform fashion and will enable the Debtor to

review, analyze, and compare all bids received to determine which bid(s) are in the best interests

of the Debtor and its estate and creditors.

            26.    Notwithstanding any confidentiality agreement that may be contained in any

agreement, contract, or other document to which the Debtor is a party, the Debtor is authorized to

disclose the contents of such agreement, contract, or document to prospective bidders in

connection with the Bidding Procedures and proposed Sale and such disclosure shall not be a

breach of any such contract, agreement or document.

C.          The Auction

            27.    In the event that Qualified Bids are received by the Bid Deadline, the Debtor’s will

commence the Auction on September 24, 2018 at 10:00 a.m. (Eastern Time) to sell all or

substantially all of the Acquired Assets. Any bidder who submits a Qualified Bid2 may participate

in the Auction.

            28.    At the Auction, bidding will commence with the Stalking Horse Bid, or if none, the

then highest Qualified Bid and will continue until the Debtor, in consultation with Rosenthal and

Gores, determines that it has received the highest or otherwise best bid(s) for the Acquired Assets.

After the Debtor so determines, it will close the Auction, subject, however, to its right to re-open

the Auction if necessary. The Debtor will then determine and announce which sale or combination

of sales has been determined to be the highest or otherwise best bid(s) (the “Successful Bid”),

provided that such bid provides for a cash payment at closing of no less than $4 Million, excluding

any Cure Payments that are required in connection with any Assumed Contracts designated by the



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    The Stalking Horse Bid shall be deemed a Qualified Bid.


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Successful Bidder, or Rosenthal, in its sole discretion, consents in writing to the Debtor’s

acceptance of such bid.

                                    APPLICABLE AUTHORITY

A.          A Sale of the Debtor’s Assets Under
            Section 363 of the Bankruptcy Code is Warranted

            29.   Ample authority exists for the approval of the proposed sale of the Debtor’s Assets.

Section 363 of the Bankruptcy Code, which authorizes a debtor to use or sell assets of the estate

other than in the ordinary course of business, free and clear of liens, claims and encumbrances,

provides, in relevant part, as follows:

                  (b)(1) The trustee, after notice and a hearing, may use, sell, or lease, other
                  than in the ordinary course of business, property of the estate . . .

See 11 U.S.C. § 363(b)(1); see also Fed. R. Bankr. P. 6004(f)(1) (“All sales not in the ordinary

course of business may be by private sale or by public auction.”).

            30.   The decision to sell assets outside the ordinary course of business is based upon the

sound business judgment of the debtor. See, e.g., In re Chateaugay Corp., 973 F.2d 141 (2d Cir.

1992); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 772 F.2d 1063, 1071

(2d Cir. 1983); In re Adelphia Commc’ns Corp., No. 02-41729 (REG) (Bankr. S.D.N.Y. July 31,

2002). See also Official Comm. of Sub. Bondholders v. Integrated Res., Inc. (In re Integrated Res.,

Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992), appeal dismissed, 3 F.3d 49 (2d Cir. 1993), quoting Smith

v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985) (“the business judgment rule ‘is a presumption

that in making a business decision the directors of a corporation acted on an informed basis, in good

faith and in the honest belief that the action was in the best interests of the company,’” which has

continued applicability in bankruptcy).

            31.   In the circumstances of valid business justification, applicable principles of law

attach to a debtor’s decision a strong presumption “that in making a business decision[,] the


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directors of a corporation acted on an informed basis, in good faith and in the honest belief that

the action taken was in the best interests of the company.” In re Integrated Res., Inc., 147 B.R. at

656. Once a court is satisfied that there is a sound business justification for the proposed sale, the

court must then determine whether (i) the debtor in possession has provided the interested parties

with adequate and reasonable notice, (ii) the sale price is fair and reasonable, and (iii) the purchaser

is proceeding in good faith. In re Betty Owens Sch., 1997 U.S. Dist. Lexis 5877 (S.D.N.Y. 1997);

accord In re Delaware and Hudson Ry. Co., 124 B.R. 169, 166 (D. Del. 1991); In re Decora Indus.,

Inc., Case No. 00-4459, 2002 WL 32332749 at *3 (Bankr. D. Del. May 20, 2002).

            32.   Ample business justification exists in this case to approve the proposed Bidding

Procedures and any sale effectuated in accordance therewith. The Debtor has considered all

alternatives, with the assistance of its advisors, and determined that a sale of the Acquired Assets

is in the best interests of their estates and creditors. The current lender is unwilling to continue to

fund the Debtor’s operations as they currently exist and the Debtor has not located any other viable

sources of funding sufficient to replace the current lender to enable it to reorganize its business or

continue as a going concern. Furthermore, the Bidding Procedures proposed herein will ensure

that the Debtor receives the maximum value for the Acquired Assets. In light of the Debtor’s

constraints for use of cash collateral, the Debtor believes that the Sale must be completed in

accordance with the time frame described herein to preserve and maximize the value of the Acquired

Assets in order to avoid significant additional decline.

            33.   Pursuant to section 363(k) of the Bankruptcy Code, the Debtor confirms that

Rosenthal shall be permitted at the Auction to credit bid up to the full amount owed to Rosenthal.

B.          Sale of Assets Free and Clear of Liens, Claims, and Encumbrances

            34.   In the interest of attracting the best offers, the sale of the Acquired Assets should be

free and clear of any and all liens, claims, and encumbrances in accordance with section 363(f) of


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the Bankruptcy Code, with any such liens, claims and encumbrances attaching to the proceeds of the

sale to the same extent, validity, order and priority as they currently attach to the Acquired Assets.

The sale proceeds shall be applied at closing to pay the Rosenthal secured claim and any excess

sale proceeds after payment of the Rosenthal claim shall be held by the Debtor subject to further

order of this Court. Pursuant to section 363(f) of the Bankruptcy Code, a debtor in possession may

sell property of the estate “free and clear of any interest in such property of an entity other than

the estate” if any one of the following conditions is satisfied:

                        applicable nonbankruptcy law permits sale of such property free and
                         clear of such interest;

                        such entity consents;

                        such interest is a lien and the price at which such property is to be
                         sold is greater than the aggregate value of all liens on such property;

                        such interest is in bona fide dispute; or

                        such entity could be compelled, in a legal or equitable proceeding,
                         to accept a money satisfaction of such interest.

11 U.S.C. § 363(f)(1) – (5).

            35.   With respect to any party asserting a lien, claim, or encumbrance against the

Acquired Assets, the Debtor believes that it will be able to satisfy one or more of the conditions

set forth in section 363(f).

C.          The Successful Purchaser Should be Afforded All Protections
            Under Section 363(m) as a Good Faith Purchaser

            36.   Section 363(m) of the Bankruptcy Code protects a good-faith purchaser’s interest in

property purchased from the debtor notwithstanding that the sale conducted under section 363(b)

is later reversed or modified on appeal. Specifically, section 363(m) states that:

                  The reversal or modification on appeal of an authorization under [section
                  363(b)] … does not affect the validity of a sale … to an entity that purchased
                  … such property in good faith, whether or not such entity knew of the


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                  pendency of the appeal, unless such authorization and such sale … were
                  stayed pending appeal.

11 U.S.C. § 363(m). Section 363(m) “fosters the ‘policy of not only affording finality to the

judgment of the bankruptcy court, but particularly to give finality to those orders and judgments

upon which third parties rely.’” In re Chateaugay Corp., 1993 U.S. Dist. Lexis 6130, at *9

(S.D.N.Y. 1993) (quoting In re Abbotts Dairies of Penn., Inc., 788 F.2d 143 at 147); see also

Allstate Ins. Co. v. Hughes, 174 B.R. 884, 888 (S.D.N.Y. 1994) (“Section 363(m) ... provides that

good faith transfers of property will not be affected by the reversal or modification on appeal of an

unstayed order, whether or not the transferee knew of the pendency of the appeal.”); In re Stein &

Day, Inc., 113 B.R. 157, 162 (Bankr. S.D.N.Y. 1990) (“pursuant to 11 U.S.C. § 363(m), good faith

purchasers are protected from the reversal of a sale on appeal unless there is a stay pending

appeal”). The selection of the Successful Bidder will be the product of arm’s-length, good-faith

negotiations in an open and competitive process. The Debtor intends to request at the Sale

Approval Hearing a finding that the Successful Bidder is a good-faith purchaser entitled to the

protections of section 363(m) of the Bankruptcy Code.

D.          The Bidding Procedures are Reasonable and Appropriate

            37.   The Debtor believes that the Bidding Procedures will ensure that the bidding

process is fair and reasonable and will yield the maximum value for their estates and creditors.

            38.   In addition, the Bidding Procedures set deadlines for conducting an Auction and

holding a hearing with respect to the sale proposed herein. As set forth above, in compliance with

the Cash Collateral Orders, the Debtor believes that they must be permitted to conduct the sale

process in the manner and on the timetable set forth herein and in the Bidding Procedures.




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            39.   Accordingly, the Debtor believes that the Bidding Procedures are reasonable and

necessary under the circumstances and that the Court should approve the Bidding Procedures,

including the dates established thereby for the Sale Hearing.

E.          Sale of the Assets Does Not Require the Appointment of a
            Consumer Privacy Ombudsman

            40.   Under section 363(b)(1), a debtor may sell or lease its customer list so long as it

complies with the debtor’s privacy policy. See 11 U.S.C. § 363(b)(1)(A). If a sale is inconsistent

with the debtor’s privacy policy, section 332 governs the appointment of a consumer privacy

ombudsman. 11 U.S.C. § 332(b)(1).

            41.   It is anticipated that the Debtor will be selling its customer lists. However, the

Debtor has ensured that the sale is consistent with the Debtor’s current privacy policy by requiring

all bidders to agree to abide by such privacy policy to the extent the Acquired Assets include the

customer lists. Therefore, the appointment of a consumer privacy ombudsman is unnecessary.

F.          The Court Should Also (i) Authorize the Assumption and Assignment of Certain
            Executory Contracts and Unexpired Leases Identified in the Schedules to the
            Purchase Agreement, (ii) Fix a Deadline to Object to the Assumption and
            Assignment of Executory Contracts and Unexpired Leases and (ii) Fix the Cure
            Amounts With Respect Thereto

            42.   Section 365 of the Bankruptcy Code authorizes a debtor to assume and/or assign its

executory contracts subject to the approval of the Court:

                  (a) Except as provided in . . . subsections (b), (c), and (d) of this
                  section, the trustee, subject to the court's approval, may assume or
                  reject any executory contract or unexpired lease of the debtor.

See 11 U.S.C. §§ 365(a), (b)(1), (f)(2). Accordingly, section 365 of the Bankruptcy Code

authorizes the assumption and assignment of real property leases, provided that the defaults under

such leases are cured and adequate assurance of future performance is provided.




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            43.   Courts routinely approve motions to assume, assume and assign, or reject executory

contracts or unexpired leases upon a showing that the debtor's decision to take such action will

benefit the debtor's estate and is an exercise of sound business judgment. See Orion Pictures Corp.

v. Showtime Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d 1095, 1098 (2d Cir. 1993) (noting

that section 365 of the Bankruptcy Code "permits the trustee or debtor in possession, subject to the

approval of the bankruptcy court, to go through the inventory of executory contracts of the debtor

and decide which ones it would be beneficial to adhere to and which ones it would be beneficial

to reject."); see also NLRB v. Bildisco and Bildisco, 465 U.S. 513, 523 (1984); City of Covington

v. Covington Landing L.P., 71 F.3d 1221, 1226 (6th Cir. 1995); In re Market Square Inn, Inc., 978

F.2d 116, 121 (3d Cir. 1992) (the "resolution of [the] issue of assumption or rejection will be a

matter of business judgment by the bankruptcy court"); In re Terrell, 892 F.2d 469, 471 (6th Cir.

1989); Sharon Steel Corp. v. Nat'l Fuel Gas Dist., 872 F.2d 36, 39-40 (3d Cir. 1989); In re Riodizio,

Inc., 204 B.R. 417, 424-25 (Bankr. S.D.N.Y. 1997).

            44.   Courts generally will not second-guess a debtor’s business judgment concerning

the assumption or rejection of an executory contract or unexpired lease. See Phar-Mor, Inc. v.

Strouss Bldg., 204 B.R. 948, 951-52 (Bankr. N.D. Ohio 1997) ("Whether an executory contract is

'favorable' or 'unfavorable' is left to the sound business judgment of the debtor ... . Courts should

generally defer to a debtor's decision whether to reject an executory contract."); Riodizio, 204 B.R.

at 424 ("[a] court will ordinarily defer to the business judgment of the debtor's management"). The

"business judgment" test is not a strict standard; it merely requires a showing that either assumption

or rejection of the executory contract or unexpired lease will benefit the debtor's estate. See Allied

Tech., Inc. v. R. R. Bruneman & Sons, Inc. In re Allied Tech.), 25 B.R. 484, 495 (Bankr. S.D.

Ohio 1982).




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            45.   Here, these standards are met.      The proposed assumption and assignment is

warranted because, as described above, as it is required by the Purchase Agreement, which

(a) embodies the best offer received for substantially all of the Debtor’s assets and (b) enables the

Debtor to maximize the value of its estate. It is well settled that the meaning of “adequate

assurance of future performance” depends on the facts and circumstances of each case, but that a

contract counterparty is not required to receive an absolute guarantee of future performance. See,

e.g., In re Glycogensys, Inc., 352 B.R. 568, 578 (Bankr. D. Mass. 2006) ("[I]t is appropriate to

evaluate the financial condition of the assignee and the likelihood that the non-debtor party will

receive the benefit of its bargain from the assignee"); Carlisle Homes, Inc. v. Arrari (In re Carlisle

Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1989) (adequate assurance of future performance

does not mean absolute assurance that debtor will thrive and pay rent); In re Natco Indus., Inc., 54

B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (same).

            46.   In connection with the assumption and assignment of any executory contracts and

unexpired leases in accordance with the Purchase Agreement, the Debtor proposes that no later

than three (3) Business Days prior to the date of the Auction, the Debtor shall deliver a list of

Assumed Contracts and applicable Cure Payments (the “Cure Schedule”) which the Debtor will

promptly file with the Court and serve on all counterparties to the Assumed Contracts. The Debtor

further proposes that any objections to the assumption and assignment of any executory contract

or unexpired lease identified on the Cure Schedule, must be in writing, filed with the Court, and

be actually received on or before, September 24, 2018 at 5:00 p.m. on counsel to the Debtor,

Platzer, Swergold, Levine, Goldberg, Katz & Jaslow, LLP, 475 Park Avenue South, 18th Floor,

New York, New York 10016, Attn: Clifford Katz Esq.




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            47.   If no objections are received, then the cure amounts set forth in the Cure Schedule

shall be binding upon the non-debtor parties to the unexpired leases or executory contracts for all

purposes in this chapter 11 case and will constitute a final determination of total cure amounts

required to be paid by the Debtor in connection with the assignment to the winning bidder(s). In

addition, each non-debtor party to such unexpired lease or executory contract shall be forever

barred from objecting to the cure information set forth in the Cure Schedule, including, without

limitation, the right to assert any additional cure or other amounts with respect to the unexpired

leases or executory contracts.

            48.   If a timely objection is received and such objection cannot otherwise be resolved

by the parties, the Debtor will request that the Court establish a date to hear such objection and,

pending such hearing, the Debtor will pay the undisputed portion, if any, of the cure amount as set

forth on the Cure Schedule from the sale proceeds. The pendency of a dispute relating to cure

amounts will not prevent or delay the closing on any sale of assets, including the assumption and

assignment of executory contracts and unexpired leases necessary to effectuate such closing.

            49.   The Debtor requests that any party failing to object to the proposed transactions be

deemed to consent to the treatment of its executory contract and/or unexpired lease under section

365 of the Bankruptcy Code and this sale motion. See Hargrave v. Twp. Of Pemberton (In re

Tabone, Inc.), 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (by not objecting to sale motion, creditor

deemed to consent); Pelican Homestead v. Wooten (In re Gabeel), 61 B.R. 661, 667 (Bankr. W.D.

La. 1985) (same). Moreover, the Debtor requests that each such party be deemed to consent to the

assumption and assignment of its executory contract and/or unexpired lease notwithstanding any

anti-alienation provision or other restriction on assignment. See 11 U.S.C. §§ 365(c)(1)(A),

(e)(2)(A), and (f).




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G.          The Court Should Waive or Reduce the Periods Required
            By Rule 6004(h) and 6006 (d) of the Federal Rules of Bankruptcy Procedure

            50.    Pursuant to Bankruptcy Rule 6004(h), unless the court orders otherwise, all orders

authorizing the sale of property pursuant to section 363 of the Bankruptcy Code are automatically

stayed for fourteen 14 days after entry of the order. See Fed. R. Bankr. P. 6004(h). The purpose

of Bankruptcy Rule 6004(h) is to provide sufficient time for an objecting party to appeal before the

order is implemented. See Advisory Committee Notes to Fed. R. Bankr. P. 6004(h). Similarly,

pursuant to Bankruptcy Rule 6006(d), “[a]n order authorizing the trustee to assign an executory

contract or unexpired lease under §365(f) is stayed until the expiration of 14 days after the entry

of the order, unless the court orders otherwise.”

            51.    As described above, the Debtor believes that, absent a prompt sale, the value of their

assets will rapidly decline because the Debtor lacks sufficient funding to continue operations. In

addition, the Debtor is required pursuant to the Final Cash Collateral Order to close the sale no later

than 10 days after entry of the Sale Order. Consequently, any order approving the sale should be

effective immediately by providing that the fourteen 14-day stay under Bankruptcy Rules 6004(h)

and 6006(d).

                                                 NOTICE

            52.    Notice of this Motion has been provided to the Sale Notice Parties. The Debtor

submits that no other or further notice need be provided.

                                         NO PRIOR REQUEST

            53.    No previous request for the relief sought herein has been made by the Debtor to this

or any other court.

            WHEREFORE, the Debtor respectfully requests entry of the Bidding Procedures Order and

the Sale Order granting the relief requested herein and such other and further relief as is just.



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Dated: New York, New York
       July __,
            23 2018
                                              Platzer, Swergold, Levine,
                                              Goldberg, Katz & Jaslow, LLP
                                              Counsel for JM Holding Group, LLC, and
                                              Proposed Counsel for J. Mendel Inc.

                                              By: /s/ Clifford A. Katz
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